                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF TENNESSEE
                                 AT NASHVILLE

TERRY LYNN KING,                                     )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:18-cv-01234
                                                     )
FRANK STRADA, et al.,                                )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


DONALD MIDDLEBROOKS,                                 )
                                                     )
       Plaintiff,                                    )      CAPITAL CASE
                                                     )
v.                                                   )      Case No. 3:19-cv-01139
                                                     )
FRANK STRADA, et al.,                                )      JUDGE CAMPBELL
                                                     )
       Defendants.                                   )


                      DEFENDANTS’ NOTICE OF STATUS UPDATE


       Pursuant to this Court’s orders (King, D.E. 227; Middlebrooks, D.E. 78), Defendants

hereby provide notice to the Court regarding the status of corrective actions to comply with the

recommendations in the Report and Findings of the Tennessee Lethal Injection Protocol

Investigation (“Report”) and Governor Lee’s directives. (King, D.E. 229-1, 229-2; Middlebrooks,

D.E. 81-1-81-2.)

       The Tennessee Department of Correction (TDOC) is currently working with counsel on

draft revisions to Tennessee’s execution procedures for lethal injection. The process of revising

the protocol is a priority, is active, and ongoing. The Commissioner of TDOC is currently not

prepared to provide a date when a new lethal injection protocol will be finalized.


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                                               Respectfully submitted,

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                                CERTIFICATE OF SERVICE
       I certify that on the 30th day of October, 2023, a copy of the foregoing was filed and

served via the Court’s CM/ECF system on the following counsel for Middlebrooks:

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